Case 2:16-cV-O4592-ODW-I\/|RW Document 1-1 Filed 06/24/16 Page 1 of 12 Page |D #:4

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Case 2:16-cV-O4592-ODW-I\/|RW Document 1-1

 

 

Todd M. Friedman (216752)

Adrian R. Bacon (280332)

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Fait: 866-633-0228 MAY 1 3 2015

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abacon@toddt]aw.con_l 3“°"§¥; Anabo"a ngar°aioepmy

Attorney for Plaintiff

SUPERIOR COURT OF THE STATE OF CALIFORNIA
FOR THE COUNTY OF LOS ANGELES
LIMITED JURISDICTION

CaseNo. 16K05843

)

CURT JACEY, )
) COMPLAINT

Plaintiff, ) (Amount not to exceed $10,000)

' )
vs. ) 1. Violation of Rosenthal Fair Debt

) Collection Practices Act

SYNCI{RONY BANK, ) 2. Violation of Telephone Consumer
) Protection Act

Def`endant. )
)

)
I.. INTRODUCTION

l. This is an action for damages brought by an individual consumer for Defendant’s
violations of the Rosenthal Fair Debt Co]lection Practices Act, Cal Civ Code §1788, et seq.
(hereinal°ter' “RFDCPA”) Which prohibits debt collectors from engaging in'abusive, deceptive,
and unfair practices Ancillary _to the claims ab'ove, Plaintif‘f further alleges claims for
Defendant’s violations of the Telephone'Co_nsumer Protection Act., 47 U.S.C. §227, et seq.
(herewaRer “TCPA”). . ' ' 2

l]. PARTlES _

2. Plaintiff, CURT JACEY (“Plaintiff”), is a natural person residing in los
Angeles County in the state of California and is a “debtor” as defined by Cal Civ Code
§1788.2(h). '

Complaint - 1

Filed 06/24/16 PB 2 of 12 Page |D #:5

 

 

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3. At all relevant times herein, Def`endant, SYNCHRONY BANK (“Defendant”),
is a company engaged, by use of the mails and telephone, in the business of collecting a debt
f`rom Plaintiff` which qualifies as a “consumer debt,” as defined by Cal Civ Code §1788.2(f`).
Defendant regularly attempts to collect debts alleged to be due them, and therefore is a “debt
collector” as defined by the RFDCPA, Cal Civ Code §1788.2(0). Further, Defendant uses an
“automatic telephone dialing system” as defined by the TCPA, 47 U.S.C. §227.

III. FACTIiAL ALLEGATIONS

4. At various and multiple times prior to the filing of` the instant complaint,

including within the one year preceding the filing of this complaint, Defendant contacted

Plaintiff in an attempt to collect an alleged outstanding debt.

5. On or around August 2015, Def`endant began contacting Plaintif`f` concerning an
alleged debt owed.

6. Defendant called Plaintiff on Plaintiff’s cellular telephone number ending in -
4568.

7. Defendant placed a barrage of calls to Plaintiff, calling Plaintiff` no less than

three (3) times per day. Def`endant placed calls to Plaintiff with enough regularity and
frequency to constitute harassment under the circumstances

8. Def`endant used an “automatic telephone dialing system,” as defined by 47
U.S.C. § 227(a)(1), to place its repeated collection calls to Plaintiffs seeking to collect the debt
allegedly owed. f

9. Prior to being contacted via an “automatic telephone dialing system,” Plaintiff
had revoked any and all consent to be contacted via an “automatic telephone dialing system.”

10. Defendant’s calls constituted calls that were not for emergency purposes as
defined by 47 U.S.C. § 227(b)(])(A).

11. Defendant’s calls were placed to telephone number assigned to a cellular
telephone service for which Plaintif`f`s incur a charge for incoming calls pursuant to 47 U.S.C.
§22 7(5)(1)~

12. Plaintif`f` verbally revoked the calls on August 15, 2015, but Defendant continues

to telephonically contact Def`endant.

Complaint - 2

 

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13. On or around November 12, 2015, Plaintiff"s counsel informed Defendant that
Plaintiff had been legally retained, and to cease calling. _

14. Furthermore, in a letter dated November 12, 2015, Plaintiff again revoked any
and all consent to be contacted via an “automated telephone dialing system.”

15. §1788.17 of the RFDCPA mandates that every debt collector collecting or
attempting to collect a consumer debt shall comply with the provisions of` Sections l692b to
l692j, inclusive, of, and shall be subject to the remedies in Section 1692k of, Title 15 of the
United States Code statutory regulations contained within the FDCPA, 15 U.S.C. §l692d, and
§1692d(5).

16. Def`endant’s conduct violated the RFDCPA in multiple ways, including but not
limited to:

a) Causing Plaintiff’s telephone to ring repeatedly or continuously
with intent to harass, annoy or abuse Plaintiff (§1692d(5));

b) Communicating with Plaintiff at times or places which were
known or should have been known to be inconvenient for
Plaintiff (§ 1692c(a)(1));

c) Causing a telephone to ring repeatedly or continuously to annoy
Plaintiff (Cal Civ Code §1788.11(d));

d) Communicating, by telephone or in person, with Plaintiff with
such frequency as to be unreasonable and to constitute an
harassment to Plaintiff under the circumstances (Cal Civ Code
§1788.11(e)); and

e) En_gaging in conduct the natural consequence of which is to
harass, oppress, or abuse Plaintiff (§1692d)).

17. Def`endant’s conduct violated the TCPA by:

a) using any automatic telephone dialing system or an artificial
or pre-recorded voice to any telephone number assigned to a v
paging service, cellular telephone service, specialized mobile
radio service, or other radio common carrier service, or any
service for which the called party is charged for the call (47
USC §227(b)(A)(iii)).

Complaint - 3

 

 

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18. As a result of the above violations of the RFDCPA and TCPA, Plaintiff suffered
and continues to suffer injury to Plaintiff’s feelings, personal humiliation, embarrassment,
mental anguish and emotional distress, and Defendant is liable to Plaintiff for Plaintist actual
damages, statutory damages, and costs and attomey’s fees.

COUNT I: VIOLATION OF ROSENTHAL
FAIR DEBT COLLECTION PRACTICES ACT

19. Plaintiff reincorporates by reference all of the preceding paragraphs.

20. To the extent that Defendant’s actions, counted above, violated the RFDCPA,
those actions were done knowingly and willfully.

PRAYER FOR RELIEF

WHEREFORE, Plaintiff respectfully prays that judgment be entered against Defendant

for the following:

Actual damages;

Statutory damages for willful and negligent violations;
Costs and reasonable attomey’s fees;

F or such other and further relief as may be just and
proper.

©ow>

COUNT II: VIOLATION OF TELEPHONE
CONSUMER PROTECTION ACT

21. Plaintiff incorporates by reference all of the preceding paragraphs

22. The foregoing acts and omissions of Defendant constitute numerous and
multiple negligent violations of the TCPA, including but not limited to each and every one of`
the above cited provisions of 47 U.S.C. § 227 et seq.

23. As a result of Defendant’s negligent violations of 47 U.S.C. §227 et seq.,
Plaintiff is entitled an award of $500.00 in statutory damages, for each and every violation,
pursuant to 47 U.S.C. § 227(b)(3)(B).

24. The foregoing acts and omissions of Defendant constitute numerous and
multiple knowing and/or willful violations of the TCPA, including but not limited to each and
every one of the above cited provisions of 47 U.S.C. § 227 et seq.

25. As a result of Defendant’s knowing and/or willful violations of 47 U.S.C. § 227

Complaint - 4

 

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et seq., Plaintiff is entitled an award of $1,500.00 in statutory damages, for each and every
violation, pursuant to 47 U.S.C. § 227(b)(3)(B) and 47 U.S.C. § 227(1))(3)(€).
26. Plaintiff is entitled to and seeks injunctive relief prohibiting such conduct in the
future.
PRAYER FOR RELIEF
WHEREFORE, Plaintiff respectfully prays that judgment be entered against the
Defendant for the following:

A. As a result of Defendant’s negligent violations of 47 U.S.C.
§227(b)(]), Plaintiff is entitled to and request $500 in statutory
damages, for each and every violation, pursuant to 47 U.S.C.
227(5)(3)(3);

B. As a result of Defendant’s willful and/or knowing violations of 47
U.S.C. §22 7(b)(]), Plaintiff is entitled to and requests treble damages,
as provided by statute, up to $1,500, for each and every violation,
pursuant to 47 U.S.C. §227(b)(3)(B) and 47 U.S.C. §227(1))(3)(€) and

C. Any and all other relief that the Court deems just and proper.

PLAINTIFF HEREBY REOUESTS A TRIAL BY JURY

Respectfully submitted this 7th day of May, 2016.

B,,; /V

Todd l\/I. Friedman, Esq. »
Law Offices of Todd M. Friedman, P.C.
Attomey for Plaintiff

Complaint - 5

 

 

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» By: Anabal|a Figueroa. deputy

 

 

NOT|CE| You have been sued. The court may decide against you without your being heard unless you respond within 30 days. Read the information
below. . `

You have 30 CALENDAR DAYS alter this summons and legal papers are served on you to tile a written response at this court and have a copy
served on the plaintiff. A~ietter or phone call will not protect you. Your written response must be in proper legal form lt you want the court to hear your
case. There may be a court form that you can use for your response. You can find these court forms and more infonnatlon at the Cal‘rfomia Courts
Oniine Seif~He|p Center (www. courtinfo.ca.gov/selfhe/p). your county law libraryl ortho courthouse nearest you. lt you cannot pay the filing fee-, ask
the court clerk for `a fee waiver lorm. lt you do not tile your response on time. you may lose the mae by default and yourwages, moneyl and property
may be taken without further warning from the court. ' .

There are other legal requirementsl You may want to call an attorney right away. if you do not know an attorney. you may want to call an attorney
referral service, if you cannot afford an attomey. you may be eligible for free legal services from a nonpront legal services program. Vou can locate
these nonprofit groups at the Callfomla Legal Services Web site (www.lawhelpca/ifornla.Org). the Cal'rfcrnia Courts Online Self-Heip Center
(www.courtlnfo.ca.gav/selmelp), cr by contacting your local court or county bar association NOTE: The court has a statutory lien for waived fees and
costs on any settlement or arbitration award of$10,000 or more in a civil case. The court's lien must be paid before the court will dismiss the case.
;AvlSOl Lo hen demandado. Sl' no responds dentro de 30 dlas, la cone puede decidir en su contra sin escuchar su version. Lea la informers/on a
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corte y hacer qua se entregue una capra al demandante. Una carta o»una llamada to/efonica nolo protegen. Su respuesta par escrito irene que estar
en formalo legal correcta si desea qua procesen su cash en la corle. Es poslble que hays un formulario qua usted pueda user para su respuesta.
Puede encontrar eslos fonnu/an‘cs de /a"corre y mas /nlonnaclon an el Centro de Ayuda de las Cortes de Califcm/a (wvwr.sucorte.ca.gov), en la
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que le de un formulan'o de exenci'on de pago de cuotas. Sr' no presents su respuesta a tlempo, puede perder el case pcrincump/lmlentc y la corte le
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programa de servlclos legales sln Hnes de /ucro. Puede encontrar estos grupos sin lines de lucro en el silio web de Callfomla~Legal Servr'ces,
(Www.lawhe|pcalilomla.crg), en el Centro de Ayuda de las Cortes de Call`fomia, (www.sucorte,ca.gov) o pon/endose en contacto con la carte o el
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pager el gravamen de la code antes de que la code pueda desechar el caso.

 

 

 

 

 

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The name, addressl and telephone number of plaintiffs attomey, or plaintiff without an attomey, is: '
(El nombre, la dlreccién y el ndmero .de leléfono del abogado del demandante, o dol demandanle que no tlene abogado, es):

Todd M. Friedman, 324 S. Beverly Dr., #725, Beverly Hills-, CA 90212, 877-206-4741

 

 

DATE: ~ 5 - C|eri<. by , Deputy

(Fecha)"AY' -.1 anna SH;ENRI R,'d rio) (Adjunto)

(For proof of service of this summons, use Proof of Service of Summons` o POS-010}.) . -
Anabella Figueroa

(Para prueba de entrega de esta citation use,el formular'lo Proof of Servioe of Summons, (POS-O10)).
[SEAL| NOT|CE TO THE PERSON SERVED: You are sen/ed

‘l. l:l as an individual defendant
‘ 2. [: as the person sued under the fictitious name of (specify):

 

3_ :l on behalf or (speo'ry).~

under. \:| CCP 416.10 (corporarion) r'__] ccP 416.60 (mlnor>
[:l ccP 416.20 (defunct corporation |:] ccr> 416.70 (conservaiee)
[:] CCP 416.40 (associatlon or partnership) |:]_ CCP 416.90 (authorlzed person)

l::| other (Spe¢ily)-'
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’ ATTQRNEV OR PAF WITHOUT ATTORNEY Slato Ber number end addle:.s).
odd M Fne man, Esq. SBN 2lvém52

Law Oftices ofTodd M. Fricdman
324 S Bevcrly Dr., #725
Beverly Hills, C._A 90212

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' items 1--6 below must be completed (see instructions on page 2).

1. Check one box below for the case type that best describes this case:

 

 

 

 

JUDGE:

 

 

 

 

 

 

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ij Wrongfulterminatlon (36) _ m Wnt of mandate (02)
l:] Oth'er employment (15) l:l Olher|udlcial review (39) `

 

2. This case m ls- [:l is not complex under rule 3. 400 of the Ca|ifomia Rules of Court. if the case is complex mark the
factors requiring exceptional judicial management
4 a. [:l Large number cf separately represented parties d. l::l Large number of witnesses »
b.»l::l Extensive motion practice raising difficult or novel e. [:l Coordination with reiated'actions pending in'one or more courts
issues that will be time-consuming to resolve in other counties. states, or countries. or in a federal court
c. l:l Substantial amount of documentary evidence f. :l Substantiai postjudgment judicial supervision

Remedies sought (check all that apply): a.EI monetary b.l:{:l nonmonetary; declaratory or injunctive relief c. [::]punitive
Number of causes of action (specr'fy):_ 1

. Th'ls case l:l is is not a class action suit ~

6 |fthere are any known related cases, file and serve a notice of related case (You may use fo

Date: May 07, 2016
Todd M. Friedman

(TYPE OR PR|NT NAME)

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( NATURE OF PARTY OR ATl’ORNEV FOR FARTY)

 

NOT|CE

. Plaintiff must tile this cover sheet with the first paperl filed in tha action or proceeding (exce_pt small claims cases or cases filed
under the Probate Code. Famiiy Code. or Weifare and institutions Code). (Ca`l. Ru|es of C`curt rule 3 220. ) Fallure to file may result
in sanctions

' Fi|e this cover sheet in addition to any cover sheet required by local court ru|e.
|f this case is complex under rule 3. 400 et seq of the Ca|ifornia Ru|es of Court, you must serve a copy of this cover sheet on ali
other parties to the action or proceeding

¢ Uniesa this is a collections case under rule 3.740 or a complex casel this cover sheet will be used for statistical purposes oniy. 1 n -

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. Case 2:16-cV-O4592-ODW-i\/|RW Document1-1 Filed 06/24/16 Page 9 of 12 Page lD #:12

CUP`Y _

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CASE NUMBER

cuRT JACEY v. ‘stcHRoNY BANK air .
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CiV|L CASE COVER SHEET ADDENDUM AND
_ . STATEMENT OF LOCATION
(C.ERT|F|CATE OF GROUNDS FOR ASS|GNMENT TO COURTHOUSE LOCAT|ON)

SHORT T|TLE‘

 

 

 

 

 

 

This form is required pursuant to Locat Rule 2.3 in all new civil case filings in the Los Angeles Superlor Court.

 

 

item i. Check the types of hearing and nil in the estimated length cf hearing expected for this case:
JuRY TRlAl_?,/QES CLASS ACT_loN? YEs LlMlTED cAsE? vEs Tllle ESTiMATED FOR TRlAL 2'3 i-iouRS//oAvs

item li. indicate the correct district and courthouse location (4 steps - if you checked "Limited Case", skip to item iii, Pg. 4):.

Step 12 After Hrst completing the Civil Case Cover Sheet form, find the main Civil Case Cover Sheet heading for your
case in the left margin beiow, and. to the right in Coiumn A, the Civil Case Cover Sheet case type you s'eiected.

Step 21 Check g_ng, Superior Court type of action in Coiumn B below which best describes the nature of this case._

Step 3: in Coiumn C. circle the reason for the court location choice that applies to the type of action you have
checked For any exception to the court iocation, see Local Ruie 2.3.

 

F Appilcab|e Reasons for Choosing Courthouse Location (see Coiumn C boiow) l

 

 

 
 
 
 

   

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

1. Class actions must be uled in the Staniey Mosk Courthouse, central districtl 8. Location of property or permanently garage-d vehic|e. . , m
2. May be filed in central (oiher county. or no bodily injury/property damage). 7. Locatlon-w were petitioner resides. _
3. Location where cause of action arose. 8. Locatlon w'lerein defendant/resg`ondent functions wholly. _<
4. Location where bodily lniury. death or drama e cccurred. 9. Locallon where one or more cf e arties reside.
5. Lccat|on where performance required or de endent resides 10. Locatlon of Labor CommisslonerO ce
11. Mandatory Fi|ing Location (Hub Case) `11
Step 4: Flli in the information requested on page 4 in item lll; complete item lV. Sign the declaration §
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LAsc Approveo 03-04 AND STATEMENT OF LOCAT|ON , Page 1 of4

 

 

 

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CURT JACEY v. SYNCHRONY BANK
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Cate`gory No. ‘_ ~_,; ` _ . 'i_.’ 4 :4_ v :,;. c_j(Checkohly'ona)"_ _~ “ ._ ' A§gy;e_'
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SHORT T|TLE: CASE NUMBER

CURT JACEY v. SYNCHRONY BANK

 

 

 

|tem lll. Statement of Location: Enter the address ofthe accident, party‘s residence or place of business, performancel or other
circumstance indicated in |tem ll.l Step 3 on Page 1, as the proper reason for filing in the court location you selected.

 

ADDRESSZ

REASON: Check the approprlate boxes for the numbers shown 3608 Emory Way
under Column C for the type of actlon that you have selected for
this case.

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ClT¥: STATE: ZlP CODE:

 

 

 

 

Pomona CA 91767

 

|tem lV. Declaration ofAssignment: l declare under penalty of perjury under the laws of the State of Ca|ifornia that the foregoing is true
and correct and that the above-entitled matter is properly filed for assignment to the Stan|ey M°$k courthouse in the
Cent"a' District of the Superior Court of Ca|ifornial County of Los Angeles [Code Civ. Proc., § 392 et seq., and Local

Rule 2.3, subd.(a).

Dated; May 07, 2016 %

(SlGNATURE OF ATTORNE G PARTY)

 

PLEASE HAVE THE FOLLOW|NG lTEMS COMPLETED AND READY TO BE F|LED |N ORDER TO PROPERLY
COMMENCE YOUR NEW COURT CASE:

1 Original Complaint or Petltion.

2 lf filing a Complaintl a completed Summons form for issuance by'the Clerk.
3. Civil Case Cover Sheet, Judicial Council form CM-010. ~

4

Civil Case Cover Sheet Addendum and Statement of Loca_tion form, LAC|V109l LASC Approved 03-04 (Rev.
03/15). .

Payment in full of the filing feel unless fees have been waived.

S"'

6. A signed order appointing the Guardian ad Litem, Judicia| Council form ClV-Ot 0. if the plaintiff or petitioner is a
minor under 18 years of age will be required by Court in order to issue a summons.

7. Additional copies of documents to be conformed by the Clerk. Copies of the cover sheet and this addendum
must be served along with the summons and complaintl or other initiating pleading in the case.

 

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